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                 United States Court of Appeals
                            For the Eighth Circuit
                        ___________________________

                                No. 15-2094
                        ___________________________

                                     Trista Jones

                       lllllllllllllllllllll Plaintiff - Appellant

                                           v.

      RK Enterprises of Blytheville, Inc.; Jahid Rahman; Mahmuda Rahman

                      lllllllllllllllllllll Defendants - Appellees
                                       ____________

                    Appeal from United States District Court
                 for the Eastern District of Arkansas - Jonesboro
                                  ____________

                            Submitted: January 26, 2016
                              Filed: January 29, 2016
                                   [Unpublished]
                                  ____________

Before WOLLMAN, ARNOLD, and SMITH, Circuit Judges.
                         ____________

PER CURIAM.

      After partially prevailing in an action under the Fair Labor Standards Act
(FLSA), Trista Jones appeals from an order of the district court granting a reduced
award of attorney’s fees.




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       Following a one-day bench trial, the district court granted judgment in favor
of Jones on her FLSA claim against defendants. Jones then sought attorney’s fees of
$43,355 and costs of $1,581.92, supporting her request with counsel’s statement of
services and his declaration. See 29 U.S.C. § 216(b) (requiring award of “a
reasonable attorney’s fee” to plaintiff entitled to judgment on FLSA claim). The
district court entered an order awarding attorney’s fees of $4,500 and costs of
$1,581.92, without any explanation as to how the court arrived at the $4,500 figure.

        For the following reasons, we conclude that the district court abused its
discretion in its award of attorney’s fees. See Quigley v. Winter, 598 F.3d 938, 956
(8th Cir. 2010) (standard of review). To determine a reasonable attorney’s fee, the
district court was required to first calculate a lodestar, by multiplying the number of
hours reasonably expended on litigation by a reasonable hourly rate, and to then
consider whether the lodestar amount should be reduced, based on appropriate
considerations. See Hensley v. Eckerhart, 461 U.S. 424, 433-34 (1983); Quigley, 598
F.3d at 956-57; see also Saizan v. Delta Concrete Prod. Co., Inc., 448 F.3d 795, 799-
803 (5th Cir. 2006) (lodestar method is used to calculate appropriate attorney’s fee
award under FLSA). Here, the district court did not explain how it determined the
lodestar, or its reasons for reducing the award from its calculated lodestar. See
Hensley, 461 U.S. at 437 (although district court has discretion in determining
amount of fee award, it remains important for it to provide concise but clear
explanation of its reasons for award); Quigley, 598 F.3d at 957-58 (district court
abused its discretion in significantly reducing requested attorney’s fee amount when
it failed to conduct proper lodestar analysis, and based its decision on unsupported
considerations).

       Accordingly, we vacate the attorney’s fee award and remand the matter to the
district court, with directions to determine an attorney’s fee award in accordance with
the lodestar approach and Hensley.
                         ______________________________

                                         -2-



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                               United States Court of Appeals
                                     For The Eighth Circuit
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                                                                               www.ca8.uscourts.gov

                                                            January 29, 2016


Mr. Josh Sanford
SANFORD LAW FIRM
Suite 411, One Financial Center
650 S. Shackleford Road
Little Rock, AR 72211

         RE: 15-2094 Trista Jones v. RK Enterprises of Blytheville, et al

Dear Counsel:

       The court has issued an opinion in this case. Judgment has been entered in accordance
with the opinion. The opinion will be released to the public at 10:00 a.m. today. Please hold the
opinion in confidence until that time.

        Please review Federal Rules of Appellate Procedure and the Eighth Circuit Rules on post-
submission procedure to ensure that any contemplated filing is timely and in compliance with the
rules. Note particularly that petitions for rehearing and petitions for rehearing en banc must be
received in the clerk's office within 14 days of the date of the entry of judgment. Counsel-filed
petitions must be filed electronically in CM/ECF. Paper copies are not required. No grace period
for mailing is allowed, and the date of the postmark is irrelevant for pro-se-filed petitions. Any
petition for rehearing or petition for rehearing en banc which is not received within the 14 day
period for filing permitted by FRAP 40 may be denied as untimely.

                                                            Michael E. Gans
                                                            Clerk of Court

MDS

Enclosure(s)

cc:      Mr. Jim McCormack
         Mr. Garland Watlington
         Mr. Joshua L. West

            District Court/Agency Case Number(s): 3:13-cv-00252-BRW




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              filed" (3:13-cv-00252-BRW)
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                               Eighth Circuit Court of Appeals

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The following transaction was filed on 01/29/2016
                 Trista Jones v. RK Enterprises of Blytheville,
Case Name:
                 et al
Case Number:
                 15-2094
Document(s): Document(s)

Docket Text:
PER CURIAM OPINION FILED - THE COURT: Roger L. Wollman, Morris S. Arnold and
Lavenski R. Smith (UNPUBLISHED) [4361357] [15-2094] (Michael Shay)

Notice will be electronically mailed to:

Mr. Jim McCormack, Clerk of Court: ared_appeals@ared.uscourts.gov
Mr. Josh Sanford: josh@sanfordlawfirm.com, caitlin@sanfordlawfirm.com
Mr. Garland Watlington: Gwatlington@gmail.com
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    Mr. Garland Watlington
    Mr. Joshua L. West

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